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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KYLE REARDON
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2700
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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,        ) CR. S-09-0054 WBS
12                                    )
               Plaintiff,             )
13                                    ) STIPULATION AND [PROPOSED]
          v.                          ) ORDER CONTINUING STATUS
14                                    ) CONFERENCE
     CLINTON EARL IRONS,              )
15                                    ) Time: 9:00 am
                Defendants.           ) Date: Monday, December 21, 2009
16                                    ) Court: Hon. William B. Shubb

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          Defendant Clinton Earl Irons, by and through his attorney,
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     and the government, by and through the undersigned Assistant
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     United States Attorney, request that the status conference
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     currently start for Monday, December 21, 2009, at 8:30 a.m., be
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     continued to Monday, February 1, 2009, at 8:30 a.m., and
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     stipulate that the time from December 21, 2009, and extending
23
     through February 1, 2010, should be excluded from the calculation
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     of time under the Speedy Trial Act.      18 U.S.C. § 3161.
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          Defense counsel is currently in trial on another matter and
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     has been unable to review discovery with his client and
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     adequately prepare.    Accordingly, the parties believe that the
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 1   continuance should be excluded from the calculation of time under
 2   the Speedy Trial Act.   The additional time is necessary to ensure
 3   effective preparation, taking into account the exercise of due
 4   diligence.   18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.        The
 5   interests of justice served by granting this continuance outweigh
 6   the best interests of the public and the defendant in a speedy
 7   trial.   18 U.S.C. § 3161(h)(7)(A).
 8                                          Respectfully Submitted,
 9                                          BENJAMIN B. WAGNER
10                                          United States Attorney

11
12   DATED: December 17, 2009        By:     /s/ Kyle Reardon
13                                          KYLE REARDON
                                            Assistant U.S. Attorney
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15
16   DATED: December 17, 2009        By:     /s/ Kyle Reardon for
                                            TOM JOHNSON
17                                          Attorney for Defendant
                                            Clinton Earl Irons
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 1                                    ORDER
 2        The status conference for defendant Clinton Earl Irons in
 3   case number 2:09-CR-0054 WBS, currently set for December 21,
 4   2009, at 8:30 a.m., is continued to Monday, February 1, 2010, at
 5   8:30 a.m., and the time beginning December 21, 2009, and
 6   extending through February 1, 2010, is excluded from the
 7   calculation of time under the Speedy Trial Act in accordance with
 8   18 U.S.C. § 3161 and Local Code T4.
 9   IT IS SO ORDERED.
10   DATED:   December 18, 2009
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